                                              UNITED STATES BANKRUPTCY COURT
                                                     DISTRICT OF OREGON

In re                                                    )               15-35133-rld7
                                                              Case No. ________________
                                                         )
Elbert G Garboden                                        )    NOTICE OF MOTION FOR RELIEF
Sherry L Garboden                                        )    FROM (Check all that apply):
                                                         )      AUTOMATIC STAY IN A CHAPTER 7/13 CASE
Debtor(s)                                                )      CHAPTER 13 CODEBTOR STAY

  I.    YOU ARE NOTIFIED that a Motion was filed by ____________________________________________,
                                                                      The Bank of New York Mellon FKA The Bank*                     the moving
        party, for (Check all that apply): *of New York, as Trustee for the Certificateholders of the CWALT, Inc., Alternative Loan Trust
                                             2006-OC11, Mortgage Pass-Through Certificates, Series 2006-OC11

            Relief from the automatic stay protecting the debtor(s) and debtor's property, as provided by 11 USC §362.
            Relief from the stay protecting the codebtor, whose name and service address are: _______________________
            __________________________________________________________________________________________,
            and codebtor’s property as provided by 11 USC §1301.

 II.    A copy of the Motion is attached. The name and service address of the moving party's attorney (or moving party, if no
        attorney) are:__________________________________________________________________________________
                       Lisa McMahon-Myhran, 710 Second Ave., Suite 710, Seattle, WA 98104
        _____________________________________________________________________________________________

III.    If you wish to resist the Motion, you must, within 14 days of the service date shown below, file the following with the Clerk
        of the U.S. Bankruptcy Court [NOTE: if you mail or have a courier deliver the Response to the Court for filing, you must
        mail it or initiate the delivery sufficiently before the deadline so that it will actually be received at the Court on time.]


        A. A written response that states the facts supporting the opposition to the Motion by filling in the applicable “Response”
           portions on a copy of the original Motion. [NOTE: If the Response will be electronically filed, the Response must be
           prepared using the “fillable” pdf version of the original Motion unless the Motion was filed on paper and could not
           be electronically obtained from the movant];

And B. A fully completed Notice of Hearing using Local Form #721, including the date and time of the hearing. Available
       hearing dates and times are posted on the Court’s website at www.orb.uscourts.gov under the “Hearings” heading.
       If you do not have internet access, please call the Court at (503) 326-1500 or (541) 431-4000 and press “0" to obtain
       the required forms and hearing information from a Court clerk.

IV.     Failure to Respond and Serve Proper Notice of Hearing. If you fail to file a timely response and a proper Notice of
        Hearing, then either:

        A. The automatic stay will expire as to the debtor(s) pursuant to 11 USC §362(e) 30 days after the Motion was originally
           filed, and/or the stay protecting the codebtor will automatically expire pursuant to 11 USC §1301(d) 20 days after
           the date the Motion was originally filed;

 Or     B. The Court may sign an ex parte order, submitted by the moving party on Local Form #720.90, granting relief from
           the debtor stay and/or codebtor stay.

                                                             Clerk, U.S. Bankruptcy Court
                                                             [NOTE: If the 5-digit portion of the Case No. begins with "3" or "4", mail
                                                             to 1001 SW 5th Ave. #700, Portland OR 97204; OR if it begins with "6" or
                                                             "7", mail to 405 E 8th Ave #2600, Eugene OR 97401.]


I certify that: (1) The Motion was prepared using the Court’s “fillable” PDF version of Local Form #720.80; and (2) that on
___________
    01/20/16 I served copies of this Notice and the Motion on the Debtor(s), any codebtor at the address listed above, Trustee,
U.S. Trustee, members of any committee elected pursuant to 11 USC §705, and their respective attorneys.



                                                       /s/ Lisa McMahon-Myhran                                                        000849
                                                       Signature of Moving Party or Attorney                                         (OSB#)
720 (12/1/13)

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                                         UNITED STATES BANKRUPTCY COURT
                                                DISTRICT OF OREGON

In re                                         )             15-35133-rld7
                                                  Case No.__________________
                                              )
Elbert G Garboden
                                              )   (CHECK ALL APPLICABLE BOXES)
Sherry L Garboden
                                              )      Ch. 7/13 Motion for Relief from
                                              )          DEBTOR        Chapter 13 CODEBTOR Stay
                                              )      Filed by Creditor:
                                              )      _____________________________________
                                                     The Bank of New York Mellon FKA The Bank*
                                              )      Response to Stay Motion filed by Respondent:
Debtor(s)                                     )      _____________________________________

1. Debt, Default, Other Encumbrances, Description and Value of Collateral (To be completed by creditor)

    a. Description of collateral (car model, year, VIN, property address):
The real property located at 12054 Chapin Court, Oregon City, OR 97045 described in the deed of trust, a copy of which
is attached hereto.
*of New York, as Trustee for the Certificateholders of the CWALT, Inc., Alternative Loan Trust 2006-OC11, Mortgage Pass-
Through Certificates, Series 2006-OC11
    b. Amount of debt: $______________
                              268,366.09      consisting of principal: $______________;
                                                                           264,151.04     interest: $______________;
                                                                                                         4,215.05      other:
uncollected late charges: $0.00; mortgage insurance premiums: $0.00; other fees: $0.00; escrow advances: $0.00.
The total amount set forth above is less a suspense or partial balance of $0.00. The amount of debt is the amount as of
January 7,2016.
    c. Description, amount and priority of other encumbrances on collateral. If not known, include applicable information from
       debtor’s schedules if available on PACER:
Per PACER: Citi Mortgage $60,172.35



        Total debt secured by collateral (total 1.b. + 1.c.): $______________.
                                                                  328,538.44

    d. Value of collateral: $______________.
                                 324,015.00
       Equity in collateral: $______________,
                                 -30,444.64   after deducting $______________
                                                                  25,921.20   liquidation costs.

    e. Current monthly payment: $______________.
                                     2,309.42    Amount as of January 7, 2016

    f. If Chapter 13:

        (1) $______________ postpetition default consisting of (e.g., $____ payments, $____ late charges, $____ fees):


        (2) $______________ prepetition default consisting of     amounts specified in proof of claim, or,   consisting of:




    g. If Chapter 7, total amount of default $______________.
                                                  6,932.56

RESPONSE (Identify specific items disputed and specify what you contend are the pertinent facts including why there is a
postpetition default, if applicable) (to be completed by respondent):




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2. Relief from stay should be granted because (check all that apply): (To be completed by creditor)
     Lack of adequate protection because of failure to make sufficient adequate protection payments and lack of a sufficient
     equity cushion.
     Lack of insurance on collateral.
     No equity in the collateral and the property is not necessary for an effective reorganization.
     Failure of debtor to make Chapter 13 plan payments.
     Failure of debtor to make payments to secured creditor required by ¶4 of Chapter 13 plan.
     Other (describe):
According to the filed schedules, the Debtors intend to surrender the collateral.




RESPONSE (Specify why relief from stay should be denied. If respondent proposes to cure a postpetition default, detail the
cure by attaching a proposed order using Local Form (LBF) #720.90 available at www.orb.uscourts.gov under Forms/Local
Forms) (to be completed by respondent):




3. Background (To be completed by creditor)

    a. Date petition filed: ___________
                              10/31/15      Current Chapter: ____7 (7 or 13)
       If 13, current plan date ___________ Confirmed:           Yes   No
       If 13, treatment of creditor’s prepetition claim(s) in plan:



       If 7, debtor   has   has not stated on Local Form (LBF) #521 or #521.05 that debtor intends to surrender the collateral.

    b. Creditor has a lien on the collateral by virtue of (check all applicable sections and also see ¶6 below):
          Security agreement, trust deed or land sale contract dated ___________,
                                                                           10/26/06     and, if applicable, an assignment of said
          interest to creditor. The security interest was perfected as required by applicable law on ___________.
                                                                                                            10/31/06
          Retail installment contract dated ___________, and, if applicable, an assignment of said interest to creditor. The
          security interest was perfected on the certificate of title on ___________.
          Other (describe):




RESPONSE (Identify any disputed items and specify the pertinent facts) (to be completed by respondent):




4. Request for Relief from Codebtor Stay (Only Chapter 13)

    a. ______________________________, whose address is _______________________________________________
       ________________________, is a codebtor on the obligation described above, but is not a debtor in this bankruptcy.

    b. Creditor should be granted relief from the codebtor stay because (check all applicable boxes):   codebtor received
       the consideration for the claim held by creditor,     debtor’s plan does not propose to pay creditor’s claim in full,
          creditor’s interest would be irreparably harmed by continuation of the codebtor stay as a result of the default(s)
       described above and/or because:




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RESPONSE (Identify any disputed items and specify the pertinent facts) (to be completed by respondent):




5. Other Pertinent Information (To be completed by creditor, if applicable):




RESPONSE (Identify any disputed items and specify the pertinent facts) (to be completed by respondent):




6. Relief Requested (check all applicable sections): (To be completed by creditor)

       Creditor requests relief from the automatic stay to allow it to foreclose its lien on the above identified collateral, and,
       if necessary, to take appropriate action to obtain possession of the collateral.

       Creditor has a security interest in real property and requests relief from stay with respect to an act against such property
       and that the relief be binding in any other bankruptcy case purporting to affect such real property filed not later than 2
       years after the date of the entry of an order granting this motion. (If you check this box, you must complete ¶5 above
       to support this request. If you do not do so, the Court will not grant relief binding in any other bankruptcy case.)

       Creditor requests that the 14-day stay provided by FRBP 4001(a)(3) be waived based on the following cause:
The Debtors intend to surrender the collateral.

       Other (describe and explain cause):




RESPONSE (Identify any disputed items and specify the pertinent facts. If respondent agrees to some relief, attach a proposed
order using Local Form (LBF) #720.90 available at www.orb.uscourts.gov under Forms/Local Forms) (to be completed by
respondent):




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7. Documents:

    If creditor claims to be secured in ¶3.b. above creditor has attached to and filed with this motion a copy of the
    documents creating and perfecting the security interest, if not previously attached to a proof of claim.

    If this case is a Chapter 13 case and the collateral as to which creditor seeks stay relief is real property, creditor
    has attached to and filed with this motion a postpetition payment history current to a date not more than 30 days before
    this motion is filed, showing for each payment the amount due, the date the payment was received, the amount of the
    payment, and how creditor applied the payment.

RESPONDENT requests creditor provide Respondent with the following document(s), if any marked, which are pertinent
to this response:
    Postpetition payment history if not required above.
    Documents establishing that creditor owns the debt described in ¶1 or is otherwise a proper party to bring this motion.
    Other document(s) (specific description):




CREDITOR/ATTORNEY                                                 RESPONDENT DEBTOR/ATTORNEY (by signing, the
                                                                  respondent also certifies that [s]he has not altered the
                                                                  information completed by creditor)

            /s/ Lisa McMahon-Myhran
Signature:__________________________________                      Signature:__________________________________
       Lisa  McMahon-Myhran
Name:________________________________________                     Name:________________________________________
         710 Second Ave, Suite 710
Address:________________________________________                  Address:________________________________________
         Seattle, WA 98104
_______________________________________________                   _______________________________________________
Email Address:__________________________________
                 lmcmahon@robinsontait.com                        Email Address:__________________________________
           206-654-5529
Phone No:______________________________________                   Phone No:______________________________________
           000849
OSB#:_________________________________________                    OSB#:_________________________________________



                                                                  RESPONDENT CODEBTOR/ATTORNEY (by signing,
                                                                  the respondent also certifies that [s]he has not altered
                                                                  the information completed by creditor)

                                                                  Signature:__________________________________
                                                                  Name:________________________________________
                                                                  Address:________________________________________
                                                                  _______________________________________________
                                                                  Email Address:__________________________________
                                                                  Phone No:______________________________________
                                                                  OSB#:_________________________________________




YOU ARE HEREBY NOTIFIED THAT THE CREDITOR IS ATTEMPTING TO COLLECT A DEBT AND ANY INFORMATION
OBTAINED WILL BE USED FOR THAT PURPOSE.

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